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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                    )
                                              )
                             Plaintiff,       )
                                              )
        vs.                                   )   No. A02-0022 CR (OMP)
                                              )
                                              )   NOTICE OF APPEAL
 ARNOLD WESLEY FLOWERS,                       )
                                              )
                             Defendant.       )
                                              )
 __________________________________           )



       COMES NOW Plaintiff United States of America, by and through its attorney,

Alice S. Fisher, the Assistant Attorney General for the United States Department of

Justice, Criminal Division, and pursuant to Rule 4(b), F.R.A.P., and 18 U.S.C. § 3742(b),

hereby gives notice that it appeals to the United States Court of Appeals for the Ninth

Circuit from the amended judgment entered on February 22, 2006, for review of the




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sentence imposed in the above-captioned action by the United States District Court for

the District of Alaska.



RESPECTFULLY SUBMITTED THIS 24th day of March, 2006 at Anchorage, Alaska.

ALICE S. FISHER
ASSISTANT ATTORNEY GENERAL
CRIMINAL DIVISION

s/ Nancy K. Oliver
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JERRY D. MASSIE
Trial Attorney

DATED: March 24, 2006




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I hereby certify that a copy of the foregoing NOTICE OF APPEAL
 was served electronically upon counsel of record:

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on March 24, 2006 via:
( ) U.S. Mail
( X ) Electronic filing

and Courtesy Copy emailed to Judge Panner at Deborah_Desjardins@ord.uscourts.gov

Executed in Washington, D.C. on
March 24, 2006

s/ Nancy K. Oliver
NANCY K. OLIVER
TRIAL ATTORNEY
UNITED STATES DEPARTMENT OF JUSTICE




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